

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-79,197-02






IN RE STEVIE ELBERT JONES, Relator







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. W-09-56876-W(A) IN THE 291ST DISTRICT COURT
	

FROM DALLAS COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 291st District Court of Dallas County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  Relator contends that the district court
entered an order designating issues on September 9, 2011.

	Respondent, the Judge of the 291st District Court of Dallas County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.  In the
alternative, Respondent may resolve the issues set out in the order designating issues and then have
the District Clerk submit the record on such application.  In either case, Respondent's answer shall
be submitted within 30 days of the date of this order.  This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted his response.


Filed: April 10, 2013

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